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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                  PALM BEACH DIVISION

   UNITED STATES OF AMERICA,                             )
                                                         )
              Plaintiff,                                 )   Case No. 9:21-cv-80779-AMC
                                                         )
              v.                                         )
                                                         )
   104 ANDOVER COURT LLC,                                )
   RH FUND XX, LLC,                                      )
   DAVID M. FERRIS,                                      )
   OCEAN CITY LOFTS CONDOMINIUM                          )
   ASSOCIATION, INC., and                                )
   PALM BEACH COUNTY TAX                                 )
   COLLECTOR,                                            )
                                                         )
              Defendants.                                )

                   AMENDED STIPULATION REGARDING LIEN PRIORITY

         It is hereby stipulated between and among Plaintiff United States of America and

  Defendants RH Fund XX, LLC; David M. Ferris; Ocean City Lofts Condominium Association,

  Inc.; and Palm Beach County Tax Collector (collectively, “the parties”), as follows:

         1.        The parties agree that Defendant RH Fund XX, LLC, as assignee of Synovus

  Bank, is the holder of a mortgage dated June 28, 2013, encumbering the real property located at

  185 N.E. 4th Ave., Unit 210E, Delray Beach, Florida (the “Property”), which was recorded with

  the Palm Beach County Clerk on July 16, 2013, at OR Book 26183, Page 484.

         2.        The parties agree that Defendant David M. Ferris is the holder of a mortgage

  dated December 27, 2019, encumbering the Property, which was recorded with the Palm Beach

  County Clerk on January 9, 2020, at Book 31148, Page 865.

         3.        The parties agree that Plaintiff United States of America has federal tax liens

  against Barry Chapin for outstanding federal income taxes, interest, and penalties for tax years

  2014 and 2015, notice of which was filed with the Palm Beach County Clerk as set forth in

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  paragraph 11 of the United States’ complaint. The parties agree that the federal tax liens against

  Barry Wisner Chapin attach to the Property. The balance of Barry Chapin’s unpaid joint federal

  income tax liabilities, as of September 16, 2021, is $464,826.64; Interest accrues daily on these

  liabilities.

           4.       The parties agree that if, at the time of sale, any outstanding real property taxes

  are owed to Defendant Palm Beach County Tax Collector, such amounts will, pursuant to 26

  U.S.C. § 6323(b)(6) and Fla. Stat. § 197.122(1), have priority over any of the parties’ liens, and

  must be paid in full from the proceeds of sale prior to any distribution towards the liens listed in

  Paragraph 1-3.

           5.       The parties agree that, if the Property is sold, the proceeds shall be distributed as

  follows:

                 a. First, to the costs of sale (which may include the customary and usual commission

                    of a licensed real estate agent if one is appointed by the Court as a receiver

                    pursuant to 26 U.S.C. § 7403(d), provided that any contract for a receiver’s sale of

                    the Property is approved by the Court after notice and opportunity for hearing).

                 b. Second, to Defendant Palm Beach County Tax Collector, in an amount sufficient

                    to satisfy any outstanding real estate taxes.

                 c. Third, to Defendant RH Fund XX, LLC, in full satisfaction of the June 28, 2013

                    Mortgage encumbering the Property. The outstanding mortgage balance, with

                    interest as of July 1, 2021 (but excluding attorney’s fees and costs), is

                    $186,020.34, with interests, costs and attorney’s fees continuing to accrue.




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             d. Fourth, to the United States, in an amount sufficient to satisfy the federal tax liens

                 for Barry Chapin’s unpaid federal income tax liabilities for tax years 2014 and

                 2015.

             e. Fifth, to Defendant Ocean City Lofts Condominium Association, Inc., in an

                 amount sufficient to satisfy any outstanding condominium fees.

             f. Sixth to Defendant David M. Ferris, in full satisfaction of the December 27, 2019

                 Mortgage encumbering the Property; and

             g. Seventh, any surplus to be distributed pursuant to further Court Order.


  /s/Bradley A. Sarnell                                /s/Matthew I. Kramer (with consent)
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  /s/Hampton Peterson (with consent)                   /s/Ronald M. Rosengarten (with consent)
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  Tax Collector




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  /s/Michael Toback (with consent)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of September, 2021, I electronically filed the
  foregoing document with the Clerk of Court using the CM/ECF system, which will send
  notification of such filing to all ECF filers. There are no parties which require conventional
  service.

                                                /s/ Bradley A. Sarnell
                                                BRADLEY A. SARNELL
                                                Trial Attorney
                                                United States Department of Justice, Tax Division




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